                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA, STATE OF
NORTH CAROLINA, STATE OF
CALIFORNIA, STATE OF COLORADO,
STATE OF CONNECTICUT, STATE OF
MINNESOTA, STATE OF OREGON, STATE
OF TENNESSEE, and STATE OF
WASHINGTON,

                  Plaintiffs,

vs.                                           Case No. 1:24-cv-00710-LCB-JLW

REALPAGE, INC.,

                  Defendant.



      PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO TRANSFER




  Case 1:24-cv-00710-LCB-JLW    Document 38   Filed 10/17/24   Page 1 of 31
                                   INTRODUCTION

       This public antitrust enforcement action seeks to end RealPage’s ongoing scheme

to stifle competition in apartment rental markets using anticompetitive pricing

algorithms. Like Americans across the country, renters in North Carolina have been

impacted by RealPage’s anticompetitive conduct. Indeed, RealPage’s rental pricing

algorithms have been adopted by a substantial share of landlords in more major

metropolitan areas within North Carolina than in any other state—specifically, Durham-

Chapel Hill, Charlotte, and Raleigh—as well as other communities across North

Carolina. As alleged in the Complaint, RealPage implements its anticompetitive conduct

with at least six large property management companies that operate buildings and set

rents in this District and across North Carolina. Given the reach and scope of RealPage’s

conduct throughout North Carolina as well as the continuing harm to tens of thousands of

North Carolinians, the State of North Carolina, acting by and through its Attorney

General, stands together with the United States and seven other State Co-Plaintiffs, acting

by and through their respective Attorneys General, in making the considered judgment to

bring this action here. Not only does this choice merit “substantial weight[,]” Trustees of

the Plumbers & Pipefitters Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d 436, 444

(4th Cir. 2015), but to disturb this choice would also require a substantial showing—both

under the law and on the facts. That showing has not been made here.

       RealPage does not dispute that venue properly lies within this District. RealPage

also does not dispute—because it cannot—that its alleged conduct impacts North

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   Case 1:24-cv-00710-LCB-JLW          Document 38      Filed 10/17/24     Page 2 of 31
Carolinians and the reach of that impact extends across North Carolina. RealPage may

prefer to litigate elsewhere but it has not carried its burden of demonstrating that transfer

to its preferred venues—the Middle District of Tennessee or the North District of Texas—

is justified. These alternative options fail under the law and based on the factual record

before the Court.

       In seeking to transfer this case to Tennessee, RealPage focuses on the purported

value of proceeding in the same courthouse that is separately managing a private

multidistrict litigation. But that sort of purported efficiency has already been directly

rejected by Congress when it acted to exempt public antitrust enforcement actions from

multidistrict consolidation to ensure their expeditious resolution. See 28 U.S.C.

§ 1407(g). RealPage has not made out the “strong showing” needed to “override the

legislative intent behind” the antitrust consolidation exemption and “the clear public

policy favoring the expeditious resolution of government antitrust enforcement actions.”

United States v. Google LLC, 661 F. Supp. 3d 480, 490 (E.D. Va. 2023). Moreover, the

multidistrict class actions in question may not proceed to trial until 2028 at the earliest.

And even if those actions were tried, the trials will be dissimilar to the case at hand given

the fact that the multidistrict claims primarily seek damages on a class-wide basis, rather

than the equitable relief sought in this action. Such an outcome would incur the very

“delays that might be caused by consolidation with private suits” that Congress sought to

avoid. Id. at 488.




                                              2

    Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24     Page 3 of 31
       RealPage’s alternative request for transfer to the Northern District of Texas based

on convenience factors rings hollow given its acceptance of—if not its preference for—a

different venue (the Middle District of Tennessee) where it is not headquartered.

Defendants generally prefer to litigate in venues where they are headquartered, but that

cannot override the “substantial weight” afforded to plaintiffs’ choice of forum. Worse,

RealPage’s request would shift this enforcement action from the home state of one of the

Plaintiffs to one that is not a plaintiff, forcing Plaintiff States to obtain local counsel. As

for witnesses, RealPage has not offered any details regarding the location of third-party

witnesses. Its vague overtures about greater convenience do not overcome the paramount

interest of Plaintiffs, including Plaintiff North Carolina, in securing the prompt resolution

of their government antitrust claims and expeditious relief to renters in North Carolina

and elsewhere. RealPage’s motion should therefore be denied.

                                 STATEMENT OF FACTS

       RealPage sells revenue management software to landlords in local markets in

North Carolina and across the country. Compl. ¶¶ 14, 200, App. A & B. For two of

RealPage’s revenue management software products, AI Revenue Management (AIRM)

and YieldStar, RealPage amasses and uses a trove of nonpublic, competitively sensitive

data to generate pricing recommendations. Id. ¶¶ 17–27, 225. Landlords agree to share

this data with RealPage, and through RealPage share with one another, in order to exploit

this data to harm renters. Id. ¶¶ 19–20, 23–25. Landlords also agree with RealPage to use

AIRM and YieldStar to align pricing with their competitors. Id. ¶¶ 28–33, 241.



                                                3

    Case 1:24-cv-00710-LCB-JLW           Document 38       Filed 10/17/24      Page 4 of 31
       Renters feel the effects of these unlawful agreements in local markets within this

District and throughout North Carolina. Multiple landlords, including six identified in the

Complaint, have entered into agreements to use AIRM or YieldStar on properties within

this District. Id. ¶ 222. Plaintiffs allege that these agreements have hurt competition in

multiple markets within this District, as well as other local markets within North Carolina

and other states. Id. ¶¶ 186–204, 220–21, App. A & B.

       RealPage’s conduct has independently spurred private antitrust litigation against it

and dozens of landlords. In April 2023, the United States Judicial Panel on Multidistrict

Litigation (“JPML”) transferred twenty-one such actions to the Middle District of

Tennessee for coordinated or consolidated pretrial proceedings. In re RealPage, Inc.,

669 F. Supp. 3d 1372 (J.P.M.L. 2023). Under the case management order governing the

RealPage MDL, trial is not scheduled to begin until 2028 at the earliest. Case Mgmt.

Order at 7–8, In re RealPage, Inc. Rental Software Antitrust Litig. (No. II), No. 3:23-

MDL-3071 (M.D. Tenn.) (“RealPage MDL Dkt.”), ECF No. 818 (attached as Ex. A).

       As part of its role vindicating public rights, the United States may file statements

of interest—akin to amicus briefs—in actions where it is not a party. See 28 U.S.C. § 517.

Such limited appearances do not otherwise compromise the rights of the United States in

its independent enforcement activity. Consistent with that practice, in November 2023,

the U.S. Department of Justice filed a statement of interest in the RealPage MDL. Stmt.

of Interest of the United States, RealPage MDL Dkt., ECF No. 627. The United States’s

appearance in the RealPage MDL was limited to filing a legal brief providing its



                                              4

   Case 1:24-cv-00710-LCB-JLW           Document 38      Filed 10/17/24     Page 5 of 31
perspective on the law, Mem. Supp. Stmt. of Interest, RealPage MDL Dkt., ECF No. 628,

and participating at oral argument, Transcript of Proceedings at 189–202, Dec. 11, 2023,

RealPage MDL Dkt., ECF No. 673.

                                   LEGAL STANDARD

       A “plaintiff’s choice of forum is often the most important factor in a transfer of

venue analysis.” Triad Int’l Maint. Corp. v. Aim Aviation, Inc., 473 F. Supp. 2d 666, 669

(M.D.N.C. 2006). That decision “is entitled to substantial weight,” Trustees of the

Plumbers & Pipefitters, 791 F.3d at 444, and “should rarely be disturbed,” Collins v.

Straight, Inc., 748 F.2d 916, 921 (4th Cir. 1984). That is particularly true where the

plaintiff’s chosen forum is the location of the operative events giving rise to the suit,

Speed Trac Techs., Inc. v. Estes Express Lines, Inc., 567 F. Supp. 2d 799, 803–04

(M.D.N.C. 2008), and the location of harm, Google, 661 F. Supp. 3d at 491.

       This principle carries even greater weight considering Congress’s conscious—and

recently reaffirmed—decision to exempt public antitrust actions from multidistrict

consolidation, thereby permitting government antitrust enforcers to continue to file

antitrust actions in their chosen venues. 28 U.S.C. § 1407(g). To “override the legislative

intent behind” Congress’s statutory exemption “and the clear public policy favoring the

expeditious resolution of government antitrust enforcement actions,” Google, 661 F.

Supp. 3d at 490, RealPage must make a “compelling showing on the remaining [transfer]

factors” under 28 U.S.C. § 1404(a)—namely, (1) convenience of the parties (2) witness

convenience and access, and (3) the interest of justice, Trustees of the Plumbers &



                                              5

   Case 1:24-cv-00710-LCB-JLW           Document 38       Filed 10/17/24     Page 6 of 31
Pipefitters, 791 F.3d at 444; Google, 661 F. Supp. 3d at 490 (“strong showing”). 1 A

defendant cannot make out a showing under these factors by trying to “simply shift[] the

inconvenience from the defendant to the plaintiff.” N.C. Mut. Life Ins. Co. v. Stamford

Brook Cap., LLC, 2019 WL 4747851, at *8 (M.D.N.C. Sept. 27, 2019).

                                       ARGUMENT

       RealPage has failed to prove that the convenience of the parties and witnesses or

the interest of justice favors transfer to the Middle District of Tennessee or, alternatively,

the Northern District of Texas. See Progressive Cas. Ins. Co. v. Future Van Lines, LLC,

2021 WL 4413319, at *1–2 (M.D.N.C. Sept. 27, 2021). Plaintiffs are public antitrust

enforcers filing in a home state of one plaintiff and in a forum that has suffered harm

from RealPage’s anticompetitive conduct—factors that weigh heavily against transfer.

And RealPage has not carried the burden of demonstrating that the convenience of the

parties and the witnesses justifies transfer to either of the proposed venues. Because

RealPage cannot offer “compelling” proof that the other factors justify a transfer,

Trustees of the Plumbers & Pipefitters, 791 F.3d at 444; Google, 661 F. Supp. 3d at 487,

there is no basis for upsetting Plaintiffs’ choice of forum and RealPage’s motion should

be denied.




1
  Courts in this District sometimes apply a test with eleven, more specific factors. This
test overlaps with the Fourth Circuit’s broader factors. See, e.g., Freeman v. Davon
Shaquille Calhoun & Heartland Express, Inc., 2023 WL 5833725, at *4 n.3 (M.D.N.C.
Sept. 9, 2023).


                                               6

    Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24     Page 7 of 31
I.     The Middle District of North Carolina Is the Proper Forum for This Case

       In bringing their public antitrust enforcement action in this District, Plaintiffs seek

expeditious relief for the people of North Carolina, along with other renters across the

country. The anticompetitive harm caused by RealPage’s unlawful agreements with

landlords operating in this District has had a significant impact on North Carolina renters.

Recognizing that fact, the State of North Carolina has joined as a Plaintiff in this

litigation. These facts illustrate this case’s meaningful connection to this District, which

militates in favor of deferring to Plaintiffs’ choice of forum and keeping this action here.

See, e.g., Parham v. Weave Corp., 323 F. Supp. 2d 670, 674 (M.D.N.C. 2004) (deference

to a plaintiff’s chosen forum is “proportionate to the relation between the forum and the

cause of action”).

              RealPage’s Anticompetitive Agreements with Landlords Have Stifled
                 Competition and Hurt Renters in This District and Throughout North
                 Carolina

       “A substantial part of the activities and conduct giving rise to the claims . . .

occurred within [the Middle] District [of North Carolina].” Compl. ¶ 223. Specifically,

RealPage entered into illegal agreements with at least six landlords that own or manage

properties in this District. Id. ¶ 222. These agreements provide for the sharing of the

landlords’ detailed, private data about properties, tenants, and applicants, which RealPage

filters back to competing landlords to reduce competition and increase prices for renters.

Id. ¶¶ 18, 222 (alleging exchange of “lease-level” information as well as information on

renters’ apartment tours).



                                               7

     Case 1:24-cv-00710-LCB-JLW         Document 38       Filed 10/17/24     Page 8 of 31
         Moreover, Plaintiffs identify numerous local rental markets in this District where

RealPage’s conduct has harmed residents, including renters in Durham and Orange

Counties. Id. ¶¶ 221, 223 & App. A (alleging harm to local markets). The fact that

markets outside the District have also been affected, Def. Br. at 12, does not diminish the

ongoing harm occurring here or the strong connection between Plaintiffs’ claims and this

forum.

         RealPage is wrong that the “nationwide scale” of its challenged conduct creates an

“insufficient factual nexus” between this District and the Plaintiffs’ case. Def. Br. at 10–

13. In the only two cases RealPage cites in support of that argument, the plaintiff had

alleged that conduct outside of the forum would cause general nationwide harm. See id.

(citing FTC v. Illumina, Inc., No. CV 21-873 (RC), 2021 WL 1546542, at *6–7 (D.D.C.

Apr. 20, 2021); FTC v. Cephalon, Inc., 551 F. Supp. 2d 21, 27 (D.D.C. 2008)). By

contrast, Plaintiffs allege localized harm in specific rental markets, including multiple

rental markets within this District, from conduct within these markets. Compl. ¶¶ 221–23.

As the Complaint alleges, these rental markets are “inherently local” because “[r]enters

are typically tied to a particular location for work, family or other needs.” Id. ¶ 186. Thus,

as to these local North Carolina rental markets, Plaintiffs allege a “localized

controvers[y]” for which there is a “local interest in having . . . settled at home.” Oldham

v. Penn. State Univ., 507 F. Supp. 3d 637, 647 (M.D.N.C. 2020); see also Google, 661 F.

Supp. 3d at 491 (finding that allegations of specific harm within the district established a

factual connection).



                                              8

   Case 1:24-cv-00710-LCB-JLW           Document 38      Filed 10/17/24     Page 9 of 31
               The State of North Carolina Is Entitled to Home State Deference

       Plaintiffs’ choice of the Middle District of North Carolina also deserves

heightened respect because the State of North Carolina is suing in its “home state.”

Progressive Casualty, 2021 WL 4413319, at *2 (“This usual deference is heightened

when a plaintiff sues in its home state. . . .”); see also United States v. Agri Stats, Inc.,

2024 WL 2728450, at *5 (D. Minn. May 28, 2024) (noting that the State of Minnesota is

a plaintiff state and denying motion to transfer out of Minnesota).

       RealPage argues that Plaintiffs, including North Carolina, are not entitled to

“home state” deference because (i) Plaintiff North Carolina resides in the Eastern District

of North Carolina, where the Attorney General’s Raleigh offices are located, Def. Br. at

12–13, and (ii) Plaintiff Tennessee’s residence is a countervailing consideration, id. at 13.

Neither argument is correct.

       First, the State of North Carolina, joined by other Plaintiffs, filed this action in a

federal judicial district in its home state and satisfied the jurisdictional and venue

requirements applicable to any litigant. Courts in this District have held that the deference

accorded to a plaintiff’s choice of forum is heightened when the plaintiff files in its home

state. See, e.g., Progressive Casualty, 2021 WL 4413319, at *2; Cree, Inc. v. Watchfire

Signs, LLC, 2020 WL 7043868, at *5 (M.D.N.C. Dec. 1, 2020). Indeed, the Attorney

General of North Carolina may file enforcement actions in any District of this State

where, as here, a substantial part of the events giving rise to the action occurred in that

District. See N.C. GEN. STAT. § 114-2(8) (2017). Thus, RealPage’s argument that the State



                                                9

   Case 1:24-cv-00710-LCB-JLW           Document 38        Filed 10/17/24     Page 10 of 31
of North Carolina is somehow a foreign plaintiff in this District is wrong under the

applicable law and belied by the unremarkable instances in which the facts and

circumstances of an action not only supported the State of North Carolina’s choice of

venue in this District, but also deference to that choice.

       Second, the State of Tennessee’s joinder as a Plaintiff here has no bearing on

“home state” deference. The fact that there are multiple State plaintiffs with—naturally—

multiple home fora does not undercut the Plaintiffs’ collective choice of where to file

because “it would not have been possible for plaintiffs to select one forum where they all

reside.” See Sleepy Lagoon, Ltd. v. Tower Grp., Inc., 809 F. Supp. 2d 1300, 1313 (N.D.

Okla. 2011) (granting deference despite only three of eight plaintiffs residing in forum

because state “does have an interest in providing a forum for its residents”). If anything,

Tennessee’s choice to litigate this particular public enforcement action in North Carolina

counsels against transferring it to Tennessee.

              The Convenience of Witnesses and Parties Does Not Justify a Transfer

       RealPage emphasizes convenience factors to support a transfer, Def. Br. at 16–18,

but its motion does not satisfy its burden to provide sufficient details regarding witness or

party inconvenience. As “[t]he party asserting witness inconvenience,” RealPage “has the

burden to proffer, by affidavit or otherwise, sufficient details respecting the witnesses and

their potential testimony to enable the court to assess the materiality of evidence and the

degree of inconvenience.” Pacchiana v. Pacchiana, 2021 WL 2312538, at *9 (M.D.N.C.

June 7, 2021), adopted, 2021 WL 2646982 (M.D.N.C. June 28, 2021). When assessing



                                              10

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24    Page 11 of 31
witness convenience, the location of party witnesses generally receives little weight

because defendants “have sufficient control over their employees . . . to minimize, if not

eliminate, any burden with respect to the production of witnesses.” See, e.g., Mkt. Am. v.

Optihealth Prod., Inc., 2008 WL 5069802, at *9 (M.D.N.C. Nov. 21, 2008), adopted,

2009 WL 10715396 (M.D.N.C. Jan. 6, 2009). Under these principles, RealPage has not

demonstrated witness inconvenience, much less demonstrated that it warrants a transfer.

              1. RealPage Offers No Evidence That the Middle District of Tennessee
                 Would Be More Convenient for Witnesses

       RealPage offers no specific facts to support its subsidiary argument that the

Middle District of Tennessee would be a more convenient forum for parties and

witnesses. See United States v. $43,660.00 in U.S. Currency, 2015 WL 3890646, at *1

(M.D.N.C. June 24, 2015) (recognizing that movant “‘fail[ed] to demonstrate the

requisite inconvenience’” when it “presented no facts to indicate the quality or

materiality” of witnesses’ testimony). RealPage fails to identify any source of proof that

would more easily be accessed in the Middle District of Tennessee than in this District.

Its headquarters are outside of Tennessee, it identifies no employees who reside in the

Middle District of Tennessee, and it identifies no third-party witness, material or not, for

whom that district is more convenient than this District. See Def. Br. at 17, 20.

       Instead, RealPage attempts to shortcut its burden to show real, demonstrable facts

by simply invoking the pendency of a private multidistrict litigation in the Middle

District of Tennessee. As discussed later, such an argument, without specific facts and

evidence, would circumvent Congress’s judgment to exempt public enforcement actions


                                             11

   Case 1:24-cv-00710-LCB-JLW          Document 38      Filed 10/17/24     Page 12 of 31
from multidistrict consolidation. 28 U.S.C. § 1407(g). The Judicial Panel on Multidistrict

Litigation’s selection of Nashville, Tennessee as the venue for its pretrial MDL

proceedings under a different procedural standard does not translate to the distinct

posture before this Court: a public enforcement action and a discretionary motion to

transfer under section 1404.

              2. The Northern District of Texas Is Inconvenient for Plaintiff States and
                 RealPage’s Assertions of Convenience Are Conclusory and
                 Unpersuasive

       RealPage similarly has failed to show that the Northern District of Texas would be

a more convenient forum. Transfer to the Northern District of Texas burdens Plaintiff

States. Texas is not a Plaintiff State, and eight Plaintiff States would be required under

that district’s local rules to obtain local counsel. See N.D. TEX. CIV. L.R. 83.11

(exempting only the United States Department of Justice and the Attorney General of the

State of Texas from the local counsel requirement under Civil Local Rule 83.10).

       RealPage’s contrary assertions of Dallas’s convenience (or second-most, after

Nashville) are either irrelevant or too conclusory to merit any weight. Without sufficient

details or further explanation, RealPage summarily asserts that “many of the likely

witnesses reside” in the Northern District of Texas. Def. Br. at 20. While many RealPage

employees may live near RealPage’s headquarters in Richardson, Texas, “the

convenience of witnesses who are employed by the parties [does] not substantively factor

into” a Court’s determination of witness convenience. Cree, 2020 WL 7043868, at *6

(recognizing that party witnesses’ “participation will be obtained as a part of their



                                             12

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24    Page 13 of 31
employment”). Moreover, there likely will be RealPage employees outside of Texas who

may be witnesses. For example, in its Rule 26 disclosures made in the RealPage MDL,

RealPage identified three potential individual witnesses, “two of whom reside in the

Northern District of Illinois.” Def. Br. at 6.

       RealPage’s convenience analysis also gives short shrift to third-party witnesses,

some of whom may be implicated in RealPage’s anticompetitive conduct. This omission

is glaring. Because RealPage offers no additional detail on the identities or locations of

likely third-party witnesses, including their quality or materiality, $43,660.00 in U.S.

Currency, 2015 WL 3890646, at *1, this Court should give “little weight to their possible

inconvenience.” Cree, 2020 WL 7043868, at *6, n.6 (minimizing consideration of third-

party witnesses’ convenience where parties had not “specified who exactly those

witnesses are”). RealPage vaguely proffers that it “may” call “some” of its 60 MDL co-

defendants as witnesses in this action and that many of them have connections to Texas.

Def. Br. at 20. But it does not identify which of these MDL co-defendants could be

material witnesses (and if those entities have ties to this District) and ignores the prospect

of any other third-party witnesses, leaving Plaintiffs and this Court to speculate. Nor does

RealPage provide “sufficient details” about those unnamed individuals’ “potential

testimony” or “demonstrate” that they are not “willing to travel” here, as it is required to

do to obtain a transfer based on witness convenience. Pacchiana, 2021 WL 2312538,

at *9; see also, e.g., Triangle Grading & Paving, Inc. v. Rhino Servs., LLC, 2020 WL

2086188, at *19 (M.D.N.C. Apr. 30, 2020) (denying transfer where defendant “d[id] not



                                                 13

   Case 1:24-cv-00710-LCB-JLW           Document 38      Filed 10/17/24     Page 14 of 31
offer the court a specific example of any [out-of-state] witness who is unwilling to travel

to North Carolina”); see also 15 CHARLES ALAN WRIGHT, ARTHUR R. MILLER, &

EDWARD H. COOPER, FED. PRAC. & PROC. Juris. § 3851 (4th ed. 2024) (“If the moving

party merely has made a general allegation that necessary witnesses are located in the

transferee forum, without identifying them and providing sufficient information to permit

the district court to determine what and how important their testimony will be, the motion

to transfer should be denied.”). Having made no proffer in its opening brief, RealPage

cannot deprive Plaintiffs of the opportunity to respond by attempting to meet its burden

for the first time in a reply. See, e.g., Hooker v. Citadel Salisbury LLC, 2023 WL

3020967, at *5 n.6 (M.D.N.C. Apr. 20, 2023).

       Even assuming that the Northern District of Texas would be more convenient for

some hypothetical unknown third-party witness, RealPage ignores that Texas may be less

convenient for other potential witnesses. By RealPage’s own reckoning, more than three-

quarters of the unidentified entities whom it might call are headquartered outside of

Texas. Def. Br. at 20. At the same time, all of the landlords enumerated in the Complaint

operate buildings within the District and North Carolina. Compl. ¶ 222. RealPage does

not address these landlords’ operations within this District, nor their corporate presence in

or near North Carolina.

       That the corporate employers of some of RealPage’s unidentified potential

witnesses “have operations and/or own property” in the Northern District of Texas, Def.

Br. 20, bears little on the convenience of individual witnesses. Many of the large



                                             14

   Case 1:24-cv-00710-LCB-JLW          Document 38      Filed 10/17/24     Page 15 of 31
landlords named as defendants in the RealPage MDL likely own or operate properties in

this District as well because at least six large landlords operating in this District reached

illegal agreements with RealPage. See Compl. ¶¶ 195, 222 & App. A (alleging RealPage

agreements touching 29 percent or more of the units in multiple submarkets in this

District).

         RealPage additionally argues that its software code base, and less than a quarter of

its documentary custodians from the United States’ pre-suit investigation, reside in the

Northern District of Texas. Def. Br. at 2, 7. But RealPage has thus far produced

documents and other information electronically, and it does not argue that it would do

differently in this litigation. In modern discovery, electronic productions can be made

from anywhere to anywhere without any additional burden, and therefore the physical

location of such materials should have little, if any, bearing on the transfer analysis. See,

e.g., Aloft Media, LLC v. Adobe Sys. Inc., 2008 WL 819956, at *4 (E.D. Tex. Mar. 25,

2008) (“Any convenience or burden associated with electronic discovery bears little, if

any, relation to the physical location of the underlying document.”). Because RealPage

offers no evidence that the Northern District of Texas would be more convenient for other

sources of proof, including third-party witnesses, this factor weighs against transfer.

II.      The Multidistrict Litigation in the Middle District of Tennessee Does Not
         Justify Transfer

         Given its otherwise thin convenience arguments for transfer, RealPage relies

heavily on the private multidistrict litigation in the Middle District of Tennessee despite

Congress’s exemption of public antitrust enforcement actions from coordination or


                                              15

      Case 1:24-cv-00710-LCB-JLW        Document 38      Filed 10/17/24     Page 16 of 31
consolidation with multidistrict litigation. 28 U.S.C. § 1407(g). RealPage should not be

able to use section 1404 to circumvent that clear proscription. Plaintiffs’ overriding

interest as public antitrust enforcers in obtaining a prompt resolution of their claims

against RealPage and expeditious relief to renters in North Carolina and elsewhere tips

this factor decidedly in favor of this District as the chosen venue. Relative court

congestion in the Middle District of Tennessee likewise counsels in favor of keeping the

case here.

              1. Congress’s Decision to Exempt Public Antitrust Enforcement Actions
                 from MDL Coordination Merits Deference

       RealPage’s justifications for transfer to the Middle District of Tennessee rely

almost entirely on the supposed efficiencies of coordinating this public enforcement

action with the private lawsuits consolidated in the MDL. Def. Br. at 15–16 (listing

proposed efficiencies of adjudication by the RealPage MDL’s judge). Such justifications

are contrary to Congress’s considered judgment about how to balance such purported

efficiencies. When Congress passed the Multidistrict Litigation Act of 1968, it explicitly

exempted federal antitrust enforcers from transfer to a multidistrict litigation, 28 U.S.C.

§ 1407(g), recognizing that public antitrust actions would “almost certainly be

substantially delayed” if forced to coordinate or consolidate with private actions. H.R.

Rep. No. 90-1130 (1968) (statement of Ramsey Clark, Deputy Att’y General of the

United States) (acknowledging incongruity in priorities and needs of public and private

antitrust actions). Thus, although Congress acknowledged that exempting federal antitrust

enforcers from the Multidistrict Litigation Act “may occasionally burden defendants,” it


                                             16

   Case 1:24-cv-00710-LCB-JLW          Document 38      Filed 10/17/24     Page 17 of 31
nonetheless believed these burdens were “justified by the importance to the public of

securing relief in antitrust cases as quickly as possible.” Id.; see also Google, 661 F.

Supp. 3d at 488 (collecting legislative history).

       In 2022, Congress expanded this exemption to include state antitrust enforcers.

Consolidated Appropriations Act, Pub. L. No. 117-328, 136 Stat. 4459, 5970 (2023) (also

known as the State Antitrust Enforcement Venue Act). In doing so, Congress reiterated its

desire to avoid the transfer of a public antitrust enforcement action to a private MDL

because doing so almost always delays the public enforcement action. H.R. Rep. No.

117-494 (2022) (exemption will “eliminate unnecessary inefficiencies and delays and

enable more timely and cost-efficient resolutions of state antitrust claims while also

ensuring that a state can litigate claims in an appropriate venue of its choice”).

       Congress’s policy justifications for exempting public antitrust enforcement actions

from MDL coordination are clear and compelling: these actions serve the critical purpose

of protecting the economy from the harms of anticompetitive behavior. Allowing them to

be mired in private multidistrict litigation impedes public law enforcement’s ability to

seek timely relief from anticompetitive conduct that harms the American people.

       The recent decision in United States v. Google LLC, 661 F. Supp. 3d 480 (E.D. Va.

2023), from the Eastern District of Virginia is on all fours with this case. When faced

with a public antitrust lawsuit brought by both state and federal enforcers, Google moved

for discretionary transfer to a venue where it faced a private MDL. Id. at 484. The court

denied that motion, holding that transfer “for coordination with the pending MDL



                                             17

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24     Page 18 of 31
actions, even as a standalone civil action without consolidation in the MDL, would

effectively circumvent the exclusion in § 1407(g) and would subvert Congress’s intent to

eliminate unnecessary delay caused by coordination with private antitrust litigation.” Id.

at 490 (emphasis added). To avoid “overrid[ing] the legislative intent behind 28 U.S.C.

§ 1407(g),” the court held that transfer was disfavored absent a “strong showing of other

factors that support the transfer of venue.” Id. Similarly, in United States v. Agri Stats, the

defendant moved to transfer a public antitrust enforcement action to the judge overseeing

a private MDL in another district on grounds of “judicial economy,” and the court

rejected those arguments. 2024 WL 2728450, at *4–5; cf. United States v. Live Nation

Ent., Inc., 2024 WL 4381074, at *3 (S.D.N.Y. Oct. 3, 2024) (denying motion to transfer

enforcement action to court overseeing prior consent decree).

       The same reasoning applies here. Although RealPage disclaims that it is seeking a

consolidation of this case with the RealPage MDL, it specifically requests transfer to the

Honorable Waverly D. Crenshaw, Jr. so that he can oversee this action alongside the

RealPage MDL. See Def. Br. at 2, 16 (asserting that transfer will “allow[] that Court to

leverage its considerable expertise with the overlapping issues”). In other words,

RealPage seeks the very “coordinated” proceedings, 28 U.S.C. 1407(g), from which

Congress expressly exempted public antitrust enforcement actions. RealPage further

attempts to distinguish this case from Google based on the stage of the proceeding. Def.

Br. at 18. But contrary to its interpretation, and as the court noted in Google, 28 U.S.C.

§ 1407(g) supplies a straightforward, categorical prohibition on “coordinated or



                                              18

   Case 1:24-cv-00710-LCB-JLW           Document 38      Filed 10/17/24     Page 19 of 31
consolidated pretrial proceedings” that leaves no room for case-by-case assessment about

whether to litigate public and private antitrust actions in parallel before the same judge.

Congress designed that bright-line rule to protect all public enforcement actions from the

“almost certain[]” delay they would experience by being tethered to MDL practice. H.R.

Rep. No. 90-1130; see also Google, 661 F. Supp. 3d. at 490 (asserting that “delays from

coordination with the MDL would be unavoidable”).

       Even if the stage of the multidistrict litigation mattered under the statute, this case

is not at a materially different stage than Google. There, as here, the multidistrict

litigation had advanced past a motion to dismiss when the United States filed its

enforcement action, cf. In re Google Digital Advert. Antitrust Litig., 627 F. Supp. 3d 346

(S.D.N.Y. 2022) (granting and denying in part a motion to dismiss), yet the court still

recognized that a transfer to a multidistrict litigation would materially delay the public

enforcement action.

       In addition, RealPage’s conjectured efficiencies rest on a series of unknowns. Even

if this case were to be transferred to the Middle District of Tennessee, it would be

transferred only to that court, and not to a specific judge. See, e.g., Trout Unlimited v.

Lohn, 2006 WL 2927737, at *3 (W.D. Wash. Oct. 10, 2006) (noting that § 1404(a) allows

the transfer of an action “to any other district or division where it might have been

brought” and not “to a specific judge as requested by defendants”). The ultimate

assignment of a transferred case is the exclusive province of the transferee court. And if

this case were by chance assigned to Judge Crenshaw, it would be within his discretion to



                                              19

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24     Page 20 of 31
treat it as a related case to the RealPage MDL (or not) and to coordinate (or not) with the

MDL.

       Most importantly, under the MDL’s case management order, summary judgment

motions are scheduled to be argued in July 2027—nearly three years away—and the

actions originally filed in that district are not scheduled for trial until February 2028, at

the earliest. RealPage MDL Dkt., ECF No. 818 at 8 (Ex. A). The MDL will also not

address class certification for over two years, a series of decisions that may draw appeals

and cause further delay of a decision on the merits. Id. at 6; see Fed. R. Civ. P. 23(f).

Tying this case to the MDL’s pretrial schedule would marry Plaintiffs to a trial date more

than three years in the future and saddle them with the conflicting priorities of scores of

additional plaintiffs and defendants seeking different claims and remedies. The case

management order dates, and the expected pretrial coordination with multiple private

parties, claims, and defenses, do not advance the Plaintiffs’ interest in securing prompt

resolution of public antitrust claims and expeditious relief from the ongoing harm.

       Nor does the United States’ filing of a statement of interest in the multidistrict

litigation change anything. Independent of its enforcement authority, the Justice

Department may file statements of interest as part of its authority to “attend to the

interests of the United States in [any] suit pending in a court of the United States.”

28 U.S.C. § 517. Like amicus briefs, statements of interest are filed in litigation involving

other parties over which the United States has no control. The United States therefore

must file its statement of interest wherever the case is proceeding; it has no choice over



                                              20

   Case 1:24-cv-00710-LCB-JLW           Document 38       Filed 10/17/24     Page 21 of 31
the forum. RealPage offers no authority holding that the venue where a statement of

interest is submitted should countermand the United States’s choice of forum for its own

enforcement action—let alone the choice of eight states, including North Carolina, that

did not participate in the statement of interest. RealPage’s position would serve only to

chill the protection of the United States’s interests through the filing of statements of

interest, contrary to congressional intent.

              2. Concerns about Court Congestion Favor This District

       RealPage’s unsupported assertion that transfer to the Middle District of Tennessee

would expedite this action is contrary to the facts about the respective courts’ dockets.

       Setting aside the delays that would arise from coordination with an MDL set for

trial in 2028, see supra Section II(A), transfer to the Middle District of Tennessee alone

could delay this case. Although RealPage proffers comparative caseload statistics to

support transfer to the Northern District of Texas, RealPage offers no similar evidence to

support transfer to the Middle District of Tennessee. Def. Br. at 21–22. The reason is

clear: the Middle District of Tennessee is slower and more congested than this District.

The median time from filing to trial in civil cases in this District is 30.5 months, shorter

than the 43.8 months in the Middle District of Tennessee. 2 This District also has 30%

fewer pending cases per judge by weighted filings and 47% fewer civil cases older than




2
 See United States District Courts – National Judicial Caseload Profile, UNITED STATES
COURTS (June 30, 2024), at https://www.uscourts.gov/file/78871/download.


                                              21

    Case 1:24-cv-00710-LCB-JLW         Document 38       Filed 10/17/24     Page 22 of 31
three years than the Middle District of Tennessee. 3 When every district is facing the

challenges of increasingly congested dockets and more protracted pretrial disputes, there

is simply no fact-based reason to believe that this action would be resolved faster in

Defendant’s preferred districts. 4

       Transfer to the Middle District of Tennessee is also unlikely to lessen the risk of

inconsistent judgments. RealPage recognizes, as it must, that this case will still be heard

or tried in parallel to the RealPage MDL regardless of where it is litigated. Def. Br. at 2

n.1 (“RealPage does not and cannot seek consolidation of this case with the MDL.”).

Absent MDL consolidation, which Congress has prohibited, transfer therefore would not

obviate the risk of inconsistent judgments. See Bluestone Innovations, LLC v. LG Elecs.,

Inc., 940 F. Supp. 2d 310, 320 (E.D. Va. 2013) (attributing risk of inconsistent results to

“trying these cases separately”). Moreover, if this case reaches final judgment before the

private MDL lawsuits (as Plaintiffs believe would serve the interests of justice and the

public), a judgment against RealPage here may be offered as probative evidence in the

RealPage MDL, minimizing the risk of inconsistency. 15 U.S.C. § 16 (a final civil



3
 United States District Courts – National Judicial Caseload Profile, UNITED STATES
COURTS (June 30, 2024), at https://www.uscourts.gov/file/78871/download.
4
  There are congestion issues in the Northern District of Texas as well. This District has
fewer weighted civil filings (360), and more completed trials (24), than the Northern
District of Texas (555 and 15 respectively). United States District Courts – National
Judicial Caseload Profile, UNITED STATES COURTS (June 30, 2024), at
https://www.uscourts.gov/file/78871/download. Moreover, this District has 45 civil cases
(five percent of its civil docket) over three years old, compared to 443 civil cases
(11 percent of its civil docket) in the Northern District of Texas. Id.

                                             22

    Case 1:24-cv-00710-LCB-JLW         Document 38       Filed 10/17/24    Page 23 of 31
judgment against a defendant in a federal antitrust suit brought by the United States “shall

be prima facie evidence against such defendant” in a related antitrust matter).

       Given the relative speed and efficiency of this District, as well as the Plaintiffs’

overriding interest in expeditious resolution of government antitrust claims, the interest of

justice weighs against transfer.

                                                ***

       RealPage chose to work with landlords that rent to North Carolinians across the

state and its anticompetitive conduct has impacted tens of thousands of North

Carolinians. RealPage’s motion to transfer seeks to diminish the scope and scale of that

harm in favor of fora that it finds preferable. Such assertions fail as a matter of law.

Venue is proper in this District. The considered judgment and choices of the United

States as well as the State of North Carolina, along with States of California, Colorado,

Connecticut, Minnesota, Oregon, Tennessee, and Washington, to file in this District

should be afforded deference. Plaintiffs therefore respectfully request that RealPage’s

Motion to Transfer be denied.




                                              23

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24     Page 24 of 31
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                                    24

  Case 1:24-cv-00710-LCB-JLW   Document 38     Filed 10/17/24    Page 25 of 31
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                                  25

Case 1:24-cv-00710-LCB-JLW   Document 38     Filed 10/17/24      Page 26 of 31
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                                  26

Case 1:24-cv-00710-LCB-JLW   Document 38     Filed 10/17/24    Page 27 of 31
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                                  27

Case 1:24-cv-00710-LCB-JLW   Document 38     Filed 10/17/24    Page 28 of 31
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                                  28

Case 1:24-cv-00710-LCB-JLW   Document 38     Filed 10/17/24    Page 29 of 31
                          WORD COUNT CERTIFICATION

       I certify that this Opposition complies with the applicable word limits excluding

the caption, signature lines, certificate of service, and any cover page or index in

accordance with Local Civil Rule 7.3(d)(1). This certification is made in accordance with

Local Civil Rule 7.3(d)(1). The undersigned relied on the word count feature provided by

word processing software. The Opposition contains 6,089 words.

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                                             29

   Case 1:24-cv-00710-LCB-JLW          Document 38       Filed 10/17/24    Page 30 of 31
                              CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2024, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                                 By: s/ Henry C. Su
                                                       Henry C. Su




                                            30

   Case 1:24-cv-00710-LCB-JLW         Document 38       Filed 10/17/24    Page 31 of 31
